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                                               Certificate Number: 15725-UT-CC-036763218


                                                             15725-UT-CC-036763218




                    CERTIFICATE OF COUNSELING

I CERTIFY that on August 16, 2022, at 6:47 o'clock PM EDT, Jeramie Day
received from 001 Debtorcc, Inc., an agency approved pursuant to 11 U.S.C. 111
to provide credit counseling in the District of Utah, an individual [or group]
briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   August 16, 2022                        By:      /s/Gonzalo Gonzalez Correa


                                               Name: Gonzalo Gonzalez Correa


                                               Title:   Issuer




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
